Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 1 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 2 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 3 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 4 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 5 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 6 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 7 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 8 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document      Page 9 of 10
Case 19-16627-MBK   Doc 24    Filed 04/29/19 Entered 05/02/19 10:44:28   Desc Main
                             Document     Page 10 of 10
